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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

 

   

 

 

 

 

 

Louis Agre, et al. )
)
Plaintiffs, )
) Civil Action No. 17-43 92
v. )
)
Thornas W. Wolf, Governor of Pennsylvania, )
et al. )
Defendants. )
PLAINTIFFS' EXHIBITS LIST
Trial Name Plaintiffs' Description Is it the Was it a
Exh. of Document subject of a deposition
No. Exhibit Numbers stipulation? exhibit?
l. Offlcial state Found at
Website maps http:h‘www.redistricting.
state a.us)'con ressional
-redistricting.ct"m
2. Already used 0576-0583 D053-2, D053-3 D053- Yes D150-2
maps 4, D053-5 (black and
white)
3. Two-pages 0584-0585 D053-6 Yes
showing R
and D
representation
over the Years
4. Pa 0721-0725 Yes
Congressional
delegation
listings
5. First bill Yes Turzai Ex. 10
(blank bill)

 

 

 

 

 

 

 

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Trial Name Plaintiffs' Description Is it the Was it a
Exh. of Document subject of a deposition
No. Exhibit Numbers stipulation? exhibit?
6. Second bill Yes Turzai Ex. 11
(pre-
amendment)
7. Final bill, as Yes Turzai Ex. 12
enacted
8. McGlone Maps at Maps at ECF DOC153-1
Report 0054-0575 pages 10-32
9. "Reserved"
10. Hanna Report D099-6 N0
l 1. Hanna D153-2 No Yes?
Supplemental
Report
12. Legislative Legislative Journal: Turzai Ex 9
journal -- 195th General Assembly,
House second December 20, 2011, No.
reading 88
13. Excerpt from Scamati McIlhinney comment - Scamati Ex. 1
public hearing 0006-7 and process was already in
transcripts 00180- place in the spring;
001 86
14. "Reserved"
15. Scarnati Yes Showing meetings with Scamati Ex 6
meeting Congressmen, lobbyists,
notices and others regarding
redistricting
16. Recitation of No, but filed Paragraphs 1-18 of Yes
Legislative as part of D150
history Dl 50
17. 0755 Bth red blue 2011
districts

 

 

 

 

 

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Trial Name Plaintiffs' Description Is it the Was it a
Exh. of Document subject of a deposition
No. Exhibit Numbers stipulation? exhibit?
18. 0756 Pbg red blue 2011
districts
19. 0757 Phl red blue 2011
districts
20. 0758 Rdg red blue 2011
districts
21. 0759 Red blue
22. 0760 Red blue 2002 districts
23. 0761 Red blue 2011 districts
24. 0762 PA PRESR04-
PRESD04
25. 0763 PA PRESR04-
PRESD04 Pa.
Philadelphia 201 l
26. McGlone Dep
Exhibit 2
27. McGlone Dep
- Exhibit 3
28. McGlone Dep
Exhibit 4
29. SB1249 0764-0817
Senate Debate
12/14/1 1
30. Redmap 0166-0169
Documents
All Anne
Hanna dep
exhibits

 

 

 

 

 

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Trial
Exh.

Name
of
Exhibit

Plaintiffs'
Document
Numbers

Description

Is it the
subject of a
stipulation?

Was it a
deposition
exhibit?

 

All Needham
dep exhibits

 

All Exec
defendant
documents

 

 

 

All Turzai
documents

 

 

 

 

 

 

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CERTIFICATE OF SERVICE

I hereby certify that on this date the foregoing Plaintiffs’ Exhibits List Was served

upon parties of record via the Court’s ECF system.

IS!
Alice W. Ballard, Esquire
December 1, 2017

